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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

XUEHONG SHARON GOU,         )
                            )
               Plaintiff,   )
                            )
vs.                         )                  Case No. CIV-21-679-R
                            )
THE BOARD OF REGENTS OF THE )
UNIVERSITY OF OKLAHOMA,     )
                            )
               Defendant.   )


                                    COMPLAINT


       Plaintiff, Xuehong Sharon Gou, (“Plaintiff” or “Gou”), for her causes of action

against Defendant The Board of Regents of The University of Oklahoma, (“Defendant”

or “O.U.”), alleges and states:

                                         THE CASE

       This is a civil action brought by a former employee of Defendant based on Title

VII of the 1964 Civil Rights Act, as amended, seeking a remedy for race and national

origin discrimination all of which occurred in the City of Norman, State of Oklahoma,

located in the Western District of Oklahoma.

                                    THE PARTIES

1. During the relevant times herein mentioned, Plaintiff was and now is a resident of the

   City of Norman, Cleveland County, State of Oklahoma, which is located within the

   Western District of Oklahoma.



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2. At all relevant times herein mentioned, Defendant was and now is a constitutional

   agency of the State of Oklahoma whose principal place of conducting its educational

   business is the City of Norman, Cleveland County, State of Oklahoma.

                              JURISDICTION AND VENUE

3. This Court has both personal jurisdiction over the parties as well as subject matter

   jurisdiction under 28 U.S.C. § 1331 – 1333

4. Venue is properly laid in the Western District of Oklahoma under 28 U.S.C. §

   1391(b).


                                 FACT ALLEGATIONS

5. Plaintiff is an Asian female, age 55, who was born in China, immigrated to the United

   States, and became a naturalized United States citizen on January 27, 2006.

6. Defendant is a comprehensive research institution of higher education that recruits

   and accepts students both nationally and internationally.

7. Both Plaintiff and husband were employed by the University of Oklahoma (“O.U.”).

8. Plaintiff was hired by O.U. as a Senior Project Manager on February 14, 2000.

9. In 2002, because of her background and understanding of the Chinese culture and

   language, Plaintiff was assigned the task of developing O.U. China projects.

10. Plaintiff performed her job duties and responsibilities as directed and received good

   periodic performance evaluations by her supervisors.

11. In 2006 Plaintiff was the first person to be selected as O.U.’s Director of its Confucius

   Institute.   At all times while Plaintiff served as Director, she was the only


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   administrator that was Asian. At the time of her termination all other administrators

   employed by the Confucius Institute were white males.

12. The Confucius Institute recruited Chinese students and American students at O.U. that

   allowed Chinese students and teachers to learn American values, culture, and the

   English language. It also allowed the O.U. students to learn Chinese culture and

   language.

13. Over the years while Plaintiff was director of the Confucius Institute, students and

   teachers from Beijing National University came to O.U. and became voices for

   American values when they returned to China, and American students benefited from

   the programs and activities that lead to a greater understanding of Chinese culture and

   language.

14. Tensions developed between the United States and China during the years 2019 and

   2020 that threatened funding of the Confucius Institute and caused O.U. to make

   plans to terminate the Confucius Institute because, inter alia, of its fear that by

   continuing the Confucius Institute, it would lose federal funding.

15. In March 2020, the Dean of O.U.’s College of Arts and Sciences, David Wrobel

   (“Wrobel”), a white male, gave Plaintiff notice that the Confucius Institute was going

   to be discontinued and that he needed Plaintiff’s assistance in transitioning and

   building a more robust O.U. program for Chinese studies and programs.

16. Plaintiff did as instructed by Dean Wrobel and provided him assistance during the

   transition and closure period during which time she advised Dean Wrobel that she

   was a U.S. citizen.

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17. Although Plaintiff was proud of her United States citizenship and made it known to

   O.U. that she was a naturalized United States citizen, and she reminded him on

   several occasions that she was an American citizen and not a foreign national.

   However, Plaintiff had to write Dean Wrobel a letter in September 2020 notifying

   him, once again, that she was a citizen and not an H-1B employee.

18. Dean Wrobel formed two committees to review the work and performance of the

   Confucius Institute and these reviews were characterized by false statements, racist

   comments, and speculative accusations that deeply concerned Plaintiff.

19. These false statements, racist comments, and speculative accusations were as follows:

      A. The Confucius Institute directed by Plaintiff placed multiple interns in a house

          in Oklahoma City that did not have enough bedrooms or bathrooms, and this

          was done without approval from OU when in truth and in fact the Confucius

          Institute did not place students in housing and it was the Santa Fe South

          Schools District that selected the housing and entered into the housing

          agreement. This accusation insinuated that Asians like Plaintiff housed a large

          number of persons in small, overcrowded living spaces as part of their culture

          and stereotyped Plaintiff as a person of that culture.

      B. The Confucius Institute served as a refuge for Chinese Communist spies and

          that before these students came to the United States from China, the Chinese

          Communist party prepared and indoctrinated the students to serve as spies.

          And,



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      C. Plaintiff who was raised and educated in mainland China could not work with

          Taiwan students and programs because she was educated in Communist China

          that is an enemy of Taiwan.

20. Plaintiff attempted to explain that these statements about the Confucius Institute were

   false and that the Institute was successful in educating United States and Chinese

   students about the respective cultures and institutions of each country. Nevertheless,

   Plaintiff’s concerns as to viewing the Confucius Institute in a proper light were

   ignored and they further ignored the effort that was made by Plaintiff to rectify her

   concerns.

21. As a result of the extreme stress the Plaintiff was subjected to in her work

   environment by Dean Wrobel, on September 21, 2020 Plaintiff contacted Dean

   Wrobel to give notice that she was going to take time off to help her cope with her

   sickness and stress. On that same day, she saw a psychologist and filed for family

   medical leave.

22. Although Dean Wrobel agreed to Plaintiff’s request for sick leave, on that same day,

   September 21, 2020, he notified Plaintiff that due to a reduction in force, her position

   at O.U. was eliminated.

23. On September 23, 2020, Plaintiff received documentation from O.U. stating that her

   H-1B status with the United States Immigration Service was being terminated even

   though Plaintiff was a naturalized United States citizen and had been since January

   27, 2006, a fact well known to O.U.



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24. Although Plaintiff was not retained as an employee by O.U., all the other Confucius

   Institute administrators including younger white males who were U.S. born were

   retained by O.U. despite Plaintiff’s history and success in developing O.U.’s China

   projects and leadership at the Confucius Institute and OU-China projects.

25. Plaintiff filed her charge of discrimination with the United States Equal Employment

   Opportunity Commission, Charge No. 564202100131 dated March 31, 2021, in the

   United States Department of Justice Civil Rights Division issued its Notice of Suit

   Rights on April 12, 2021.

                 CAUSE OF ACTION FOR VIOLATION OF TITLE VII
                  OF THE 1964 CIVIL RIGHTS ACT, AS AMENDED


26. Plaintiff incorporates by reference paragraphs 1 through 20 as though set forth in full

   herein.

27. Plaintiff is a member of national origin and race classes protected by Title VII, as

   amended, of the 1964 Civil Rights Act, in that her country of origin is China and she

   is Asian.

28. Plaintiff suffered an adverse employment action when Defendant terminated her

   employment on September 21, 2020.

29. Plaintiff’s race and national origin were motivating factors in Defendant’s decision to

   terminate Plaintiff.

30. As a direct and proximate result of Plaintiff’s termination of employment, Plaintiff

   has suffered economic loss, mental anguish and emotional distress, injury to



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reputation, humiliation, embarrassment, and lost enjoyment of life, all to her damage

in a sum in excess of Seventy-Five Thousand Dollars ($75,000.00).

WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

   1. For all relief as provided by Title VII of the 1964 Civil Rights Act, as amended,

   that includes but is not limited to:

   a. A declaration that the actions of Defendant alleged in this Complaint were

      discriminatory and retaliatory and order Defendant to cease all such actions;

   b. Order Defendant to make Plaintiff whole by awarding Plaintiff all loss pay and

      benefits, removing derogatory material from Plaintiff’s personnel files and

      publishing in the workplace a notice of the unlawful motivations for the actions

      taken against Plaintiff;

   c. Entering judgment for Plaintiff in the amount of compensatory damages

      awarded by the jury;

   d. Enter judgment for Plaintiff to recover her attorney’s fees and costs and

      expenses of the action; and,

   e. For such other and further relief as the Court deems just, equitable, and proper.


                                              Respectfully submitted,

                                              s/ Stanley M. Ward
                                              Stanley M. Ward, OBA#9351
                                              8001 E. Etowah Road
                                              Noble, OK 73068
                                              (405) 872-5111
                                              (405) 659-4084

                                              And

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                                      s/Richard C. Labarthe
                                      Richard C. Labarthe, OBA #11393
                                      Alexey Tarasov, OBA #32926
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                                      ATTORNEYS FOR PLAINTIFF


JURY TRIAL DEMANDED




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